Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 1 of 24

United States Courts
Southern District of Texas

UNITED STATES DISTRICT COURT FILED
SOUTHERN DISTRICT OF TEXAS SEP 27 2013
HOUSTON DIVISION David J. Bradley, Clerk of Court
JOHN SAIN, et al., §
§ CIVIL ACTION NO.
Plaintiffs, § 4:18-cv-04412
Vv. §
§
BRYAN COLLIER, et al., §
§
Defendants. §

PLAINTIFFS’ MOTION REQUESTING LEAVE OF COURT TO PROCEED IN
FORMA PAUPERIS

TO THE HONORABLE JUDGE OF SAID COURT...

Now comes the above-named Plaintiffs’ in the above styled and numbered civil action,
each in their individual capacity and as a Class, pursuant to 28 U.S.C. § 1915 Requesting Leave

of The Court to Proceed In Forma Pauperis.

This is a suit brought by Texas State Inmates against the Director of The Texas
Department of Criminal Justice (TDCJ) and all named Defendants under 28 U.S.C. § 1983. The
Plaintiffs have filed a complaint redressing TDCJ’s cruel and unusual punishment of inmates,
specifically TDCIJ’s gross indifference to the extreme heat conditions which exist in the inmate
housing, work, program, and service areas. The Plaintiffs have filed a complaint seeking

declaratory and injunctive relief. Doc. 2.5

Plaintiffs, upon filing this suit November 20, 2018, organized the funds to pay the filing

fee in full. This one-time event was accomplished through the gift of a Plaintiffs relative. The

Page 1
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 2 of 24

Plaintiffs wholly exhausted their financial resources when they paid the filing and therefore the
named Plaintiffs have not and do not possess the means to contribute and fund the expenses
necessary to retain Legal Counsel in this very complicated and complex suit nor to gather and
retain expert witnesses whom will verify the Constitutional violations the Defendants force upon

the inmates at the Luther Unit.

Because of the named Plaintiffs financial status as shown in the attached In Forma
Pauperis data sheets, Plaintiffs respectfully request the Court to allow them to proceed In Forma

Pauperis in the litigation from this point forward.

The Plaintiffs have filed a request, which has not yet been considered by the Court,

requesting Class Certification and appointment of Class Counsel. Doc 30, and Doc. 31.

Plaintiffs present for the Court’s consideration their individual In Forma Pauperis data

sheet and six-month TDCJ Trust Fund Financial Statements.

Attachment A — John Sain
Attachment B — Salvador Capuchino
Attachment C — David Cummings
Attachment D — Phillip Gullett
Attachment E — David Wilson

RELIEF REQUESTED

Based upon their incarceration and inability to pay cost the Plaintiffs request the Court to

allow them to Proceed In Forma Pauperis.

Page 2
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 3 of 24

PRAYER

Premises considered, Plaintiffs pray that this Honorable Court having found good cause
will grant Plaintiffs’ Motion and any additional relief the Court my deem appropriate in order

that they may be able to effectively redress their Constitutional claims.
Direct the Clerk to provide a copy of the Court’s Order to all parties.
Respectfully Submitted,

Dated: September 23, 2019

Page 3
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 4 of 24

CERTIFICATE OF CONFERENCE

Whereby their signatures below, Plaintiffs do hereby certify/declare that a conference is
not possible because Plaintiffs are incarcerated in Texas Department of Criminal Justice,
Institutional Division, and are proceeding Pro Se in this cause. Plaintiffs will not speculate on
whether the Defendants oppose this motion.

CERTIFICATE OF SERVICE

Whereby their signatures below, Plaintiffs do hereby certify/declare that true and correct ~
copies of the foregoing document was forwarded via U.S. First Class Mail, postage pre-paid, to
the following parties:

a. Bryan Collier
TDCJ Executive Director
Texas Department of Criminal Justice .

b. James McKee
Warden
O.L Luther Unit (P2)

c. Texas Department of Criminal Justice
c/o Bryan Collier
TDCI Executive Director

Service was perfected to the above Defendants through their Attorneys of Record for Service:

Todd Disher

Attorney In Charge

Office of Attorney General of Texas
209 W 14%, 8 Floor

Austin, TX 78701

Leah Jean O'Leary

Office of the Attorney General

Law Enforcement Defense Division
P.O. Box 12548 Capital Station
Austin, TX 78711-2548

Page 4
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Rage 5 of 24

CERTIFICATE OF MAILING

Whereby their signatures below, Plaintiffs do hereby certify/declare that the foregoing
document was delivered to the United States Post Office for processing (U.S. First Class postage,
pre-paid).

Pursuant to Fed. R. App. P. Rule 25 (a)(2)(A)(iit), “Mailbox Rule,” Pro se documents filed
at the time they are placed in the institutional mailing system for processing.

INMATE DECLARATION

We, the Plaintiffs listed below, being over 18 years of age, of sound mind, capable of
making this declaration due to the facts that we: suffer from and/or experience(d) one or more of
the conditions described; attended consultations with qualified medical and other professionals;
having been trained by medical personnel to recognize and treat complications due to
illness/heat/cold; having studied materials listed under Fed. R. Civ. P. Rule 902; through our
personal observations; and due to belief and empirical knowledge that the facts stated above;
pursuant to 28 U.S.C. § 1746, do hereby declare under penalty of perjury that the foregoing is true
and correct from personal knowledge.

Executed on September 23, 2019

Page 5
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD_ Page 6 of 24

JOHN SAIN, Pro Se Cd ds

TDCJ ID# 01373168
O.L. Luther Unit (P2)
1800 Luther Dr.
Navasota, TX 77868-4714 (
a

SALVADOR CAPUCHINO, Pro Se =

TDCI ID# 01675667 a
O.L. Luther Unit (P2)

1800 Luther Dr.

Navasota, TX 77868-4714

 

DAVID CUMMINGS, Pro Se
TDCJ ID# 02153663

O.L. Luther Unit (P2)

1800 Luther Dr.

Navasota, TX 77868-4714

PHILLIP GULLETT, Pro Se YECHAR Diller
TDCJ ID# 01672020 ey “

O.L. Luther Unit (P2)
1800 Luther Dr.
Navasota, TX 77868-4714

 

DAVID WILSON, Pro Se
TDCJ ID# 01648044

O.L. Luther Unit (P2)
1800 Luther Dr.

Navasota, TX 77868-4714
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD_ Page 7 of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

JOHN SAIN, et al., §
§

Plaintiffs, §

Vv. §
§

BRYAN COLLIER, et al., §
§

Defendants. §

CIVIL ACTION NO.
4:18-cv-04412

ORDER TO PROCEED IN FORMA PAUPERIS

On this date, the Court considered the Plaintiffs’ Motion to Proceed In Forma Pauperis. Having
considered the Motion, its attachments, all applicable law, and the disposition of the Case of the Court

GRANTS the motion as follows:

As for the Proceeding In Forma Pauperis the Court Orders:

John Sain GRANTED
Salvador Capuchino GRANTED
David Cummings GRANTED
Phillip Gullett GRANTED
David Wilson GRANTED

DENIED
DENIED
DENIED
DENIED
DENIED

And for the Clerk to provide service to each party, a copy of this Court’s signed order.

IT IS SO ORDERED

Date: , 2019
Houston, Texas

 

 

HONORABLE JUDGE SIM LAKE
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD_ Page 8 of 24

Attachment
A

In Forma Pauperis

John Sain
5 Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 9 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

 

JOMN SAIN, Pro Se, TDCJ ID# 01373168

 

Plaintiff/Petitioner
Vv

. Civil Action No. 4:18-cv-04412
BRYAN COLLIER, JAMES MCKEE, TDCJ

 

Defendant/Respondent

_ APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. If incarcerated. \ am being held at: _O.L. Luther Unit (P2) 1800 Luther Dr. Navasota, TX 77868-4714
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

 

2. Ifnot incarcerated. If 1 am employed, my employer’s name and address are:

NA

My gross pay or wages are: $ D , and my take-home pay or wages are: $ Zo per
(specify pay period) Do .

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes (KNo
(b) Rent payments, interest, or dividends O Yes W2KNo
(c) Pension, annuity, or life insurance payments O Yes © UXNo
(d) Disability, or worker’s compensation payments Yes O No
(e) Gifts, or inheritances Yes O No
(f) Any other sources O Yes [RNo

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

(d) VA SFRVIGE CONNECTEO DISABILITY PAYMENT : £/40 PER monTH

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(2) Git, MONTHLY FROM PARENTS For AYGIENE, CLOTHaé6, Food, SvPPLIES PNonte 135 pet mer
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 10 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

4. Amount of money that I have in cash or in a checking or savings account: $ D .

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): Ms
ONE

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense): ,

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.7, Names (or, tf under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

)\anis

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

Afsve

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

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Applicant's signature

fou SA Mn)

Printed name
{B) ,tdcOlads.c, RASSEPR4412 Document 124 Filet cht 8d/e0P RPihoRRSs Wanye Groal5 2:38:00 “PM

CSINIBO2/CINIBO2 TEXAS DEPARTMENT OF CRIMINAL JUSTICE 09/20/19
1AD5/SC00255 IN-FORMA-PAUPERIS DATA 15:35:39
TDCJ#: 01373168 SID#: 07210674 LOCATION: LUTHER INDIGENT DTE:

NAME: SAIN, JOHN RAY ~— BEGINNING PERIOD: 03/01/19

PREVIOUS TDCJ NUMBERS:

CURRENT BAL: 186.91 TOT HOLD AMT: 0.00 3MTH TOT DEP: 825.00
6MTH DEP: 1,650.00 6MTH AVG. BAL: 227.74 O6MTH AVG DEP: 275.00
MONTH HIGHEST BALANCE TOTAL DEPOSITS MONTH HIGHEST BALANCE TOTAL DEPOSITS
08/19 278.66 275.00 05/19 328.79 275.00

07/19 284.69 275.00 04/19 720.54 . 275.00

06/19 304.07 275.00 03/19 477.58 275.00

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STATE OF TEXAS, county oF(MIWIG>
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COMPLETE, AND UNALTERED PY MADE BY ME OF INFORMATION CONTA D IN
COMPUTER DATABASE REGARDING THE OFFENDER'S ACCOUNT. NP SIG:

 
   
   

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Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 12 of 24

Attachment
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In Forma Pauperis

Salvador Capuchino
4 Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 13 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

SALVADOR CAPUCHINO, Pro Se TDCJ ID 01675667
Plaintiff/Petitioner

 

BRYAN COLLIER, JAMES MCKEE, TDCJ

 

)
)
Vv ) Civil Action No. 4:18-cv-04412
)
)

Defendant/Respondent

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. If incarcerated. | am being held at: _O.L. Luther Unit (P2) 1800 Luther Dr. Navasota, TX 77868-4714
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

 

2. If not incarcerated. \f 1 am employed, my employer’s name and address are:

My gross pay or wages are: $ os , and my take-home pay or wages are: $ Za per
(specify pay period) NIB

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes if No
(b) Rent payments, interest, or dividends O Yes 4 No
(c) Pension, annuity, or life insurance payments O Yes @ No
(d) Disability, or worker’s compensation payments O Yes No
(e) Gifts, or inheritances O Yes J No
(f) Any other sources wf Yes O No

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

VA Disabj|j ty Compensation SHO,
4 Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 14 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

4, Amount of money that J have in cash or in a checking or savings account: $ go

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): by

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense): FE0N —7 7

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7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support: ¢°

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

&

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

 

 

Date: G- AO = (G

of Applicant’s signature

SALVADOR. CAfUCHHIVO

Printed name
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»CSINIBO2/CINIBO2 TEXAS DEPARTMENT OF CRIMINAL JUSTICE 09/20/19

1AD5/SC00255 IN-FORMA-PAUPERIS DATA 15:41:40
TDCI#: 01675667 SID#: 06029054 LOCATION: LUTHER | INDIGENT DTE: 09/19/19
NAME: CAPUCHINO, SALVADOR HERNANDEZ BEGINNING PERIOD: 03/01/19

PREVIOUS TDCJ NUMBERS:

CURRENT BAL: 0.89 TOT HOLD AMT: 0.00 3MTH TOT DEP: 420.15
6MTH DEP: 840.30 6MTH AVG BAL: . 45.43 6MTH AVG DEP: 140.05
MONTH HIGHEST BALANCE TOTAL DEPOSITS MONTH HIGHEST’ BALANCE TOTAL DEPOSITS
08/19 140.84 140.05 - 05/19. 140.64 140.05

07/19 141.79 140.05 04/19 °. 194,59 140.05

06/19 143.84 140.05 03/19 140.64 140.05

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Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD_ Page 16 of 24

Attachment
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In Forma Pauperis

David Cummings
, Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 17 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

DAVID CUMMINGS , Pro Se TDCJ ID# 02153663

 

Plaintiff/Petitioner

BRYAN COLLIER, JAMES MCKEE, TDCJ

 

)

)

v ) Civil Action No. 4:18-cv-04412

)

Defendant/Respondent )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
- (Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. Jf incarcerated. | am being held at: __O.L. Luther Unit (P2) 1800 Luther Dr. Navasota, TX 77868-4714
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. J am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. Ifnot incarcerated. \f I am employed, my employer’s name and address are:

My gross pay or wages are: $ Se , and my take-home pay or wages are: $ g per
(specify pay period) Cy .

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes Jno
(b) Rent payments, interest, or dividends O Yes No
(c) Pension, annuity, or life insurance payments O Yes & No
(d) Disability, or worker’s compensation payments O Yes No
(e) Gifts, or inheritances Yes O No
(f) Any other sources G Yes &YNo

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

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.* Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 18 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

4. Amount of money that I have in cash or in a checking or savings account: $ C

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value):
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6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

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_ 7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

MA

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

Declaration: | declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: AO Sept 2O(F Co

~ Applicant’s signature

DA Vick COM ming

 

Printed name
(B) ,tdcOlad

 

CSINIBO2/CINIBO2 TEXAS DEPARTMENT OF CRIMINAL JUSTICE 09/20/19
1AD5/SC00255 IN-FORMA-PAUPERIS DATA 15:40:29
TDCJ#: 02153663 SID#: 05189743 LOCATION: LUTHER INDIGENT DTE: 09/17/19
NAME: CUMMINGS, DAVID WAYNE BEGINNING PERIOD: 03/01/19

PREVIOUS TDCJ NUMBERS: | .

CURRENT BAL: 1.68 TOT HOLD AMT: 0.00 3MTH TOT DEP: 420.00
6MTH DEP: 780.00 6MTH AVG BAL: 81.86 OMTH AVG DEP: 130.00
MONTH HIGHEST BALANCE TOTAL DEPOSITS MONTH HIGHEST BALANCE TOTAL DEPOSITS
08/19 137.68 70.00 05/19 80.53 100.00

07/19- 130.98 150.00 , ‘04/19 145.33 150.00

06/19 182.33 200.00 03/19 182.58 110.00

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STATE OF TEXAS, COUNTY OF
ON THIS THE AY OF OWA I CERTIFY THAT THIS DOCUMENT IS A TRUE,

COMPLETE, AND UNALTERED PY MADE BY ME OF INFORMATION CONTA D LN TH
COMPUTER DATABASE REGARDING THE OFFENDER'S ACCOUNT. NP SIG 1W-~

PF1-HELP PF3-END ENTER NEXT TDCJ NUMBER: OR SID NUMBER:

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Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 20 of 24

Attachment
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In Forma Pauperis

David Wilson
Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 21 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

DAVID WILSON, Pro Se TDCJ ID# 01648044

 

Plaintiff/Petitioner

BRYAN COLLIER, JAMES MCKEE, TDCJ

 

)
)
v ) Civil Action No. 4:18-ev-04412
)
)

Defendant/Respondent

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. If incarcerated. | am being held at: __O.L. Luther Unit (P2) 1800 Luther Dr. Navasota, TX 77868-4714
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. J am also submitting a similar statement from any other institution where I was
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2. Ifnot iran If 1 am employed, my employer’s name and address are:

|

My gross pay or wages are: $ \ , and my take-home pay or wages are: $ per
(specify pay period)

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes dno
(b) Rent payments, interest, or dividends O Yes IN 0
(c) Pension, annuity, or life insurance payments O Yes a
(d) Disability, or worker’s compensation payments G Yes

(e) Gifts, or inheritances O Yes 0
(f) Any other sources O Yes 0

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
. Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 22 of 24

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

 

4. Amount of money that I have in cash or in a checking or savings account: $

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): () NN FE

 

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide

the amount of the monthly “N O ~~
} IN (P

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

ONE

8. Any debts or ©} ] obligations (describe the amounts owed and to whom they are payable):
AN

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: ~ / { q

 

 

Printed name
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CSINTBO2 /CINIBO2 TEXAS DEPARTMENT OF CRIMINAL JUSTICE 09/20/19
1AD5/SC00255 IN-FORMA-PAUPERIS DATA . © — 15:39:36
TDCU#: 01648044 SID#: 04014010 LOCATION: LUTHER . INDIGENT DTE: 06/22/16
NAME: WILSON,DAVID LEE BEGINNING PERIOD: 03/01/19

PREVIOUS TDCJ NUMBERS:

CURRENT BAL: 0.00 TOT HOLD AMT: 0.00 3MTH TOT DEP: 40.00
6MTH DEP: 40.00 6MTH AVG BAL: 0.00 6MTH AVG DEP: 6.67
MONTH HIGHEST BALANCE TOTAL DEPOSITS MONTH HIGHEST BALANCE TOTAL DEPOSITS
08/19 40.00 40.00 05/19 0.00 0.00

07/19 0.00 0.00 04/19 0.00 0.00 -

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STATE OF TEXAS, COUNTY OF
ON THIS THE AY OF DBNG I CERTIFY THAT THIS DOCUMENT IS A TRUE,

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Case 4:18-cv-04412 Document 124 Filed on 09/30/19 in TXSD Page 24

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United States Courts
Southern District of Texas
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SEP 27 2018

David J. Bradley, Clerk of Court

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